
397 S.C. 154 (2011)
723 S.E.2d 841
The STATE, Respondent,
v.
Rita G. BIXBY, Appellant.
Not in source.
Court of Appeals of South Carolina.
Decided October 19, 2011.

ORDER
This order addresses Appellant's motion to abate her case ab initio and withdraw opinion number 4768, refiled August 10, 2011. After a careful consideration of the motion, the Court finds Appellant passed away while her petition for rehearing was pending. Hence, the Court grants Appellant's request to abate the appeal and withdraw the opinion. However, the Court declines to find the abatement should be ab initio. See State v. Anderson, 281 S.C. 198, 199, 314 S.E.2d 597, 597 (1984) ("[T]he death of a criminal appellant, prior to *155 the disposition of his appeal, abates that appeal and constitutes grounds for its dismissal.").
  /s/ John C. Few, C.J.
  /s/ Paula H. Thomas, J.
  /s/ Daniel F. Pieper, J.
